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EXHIBIT 1

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Entity Details

THIS IS NOT A STATEMENT OF GOOD STANDING

Incorporation Date/ 6/6/1991

| File Number: ane Eormation Date: (mmiddfyyyy)
Entity Name: TESLA INDUSTRIES, INC.
Entity Kind: Corporation Entity Type: General
Residency: Domestic State: DELAWARE

REGISTERED AGENT INFORMATION

Name: REGER RIZZO & DARNALL LLP

Address: 1521 CONCORD PIKE STE 305

City: WILMINGTON County: New Castle
State: DE Postal Code: 19803
Phone: 302-477-7100

Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
more detailed information including current franchise tax assessment, current filing history
and more for a fee of $20.00.

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